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                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF OREGON
                                  MEDFORD DIVISION
                                                         /0· 3 14C
                                            Case No.: i.e 511/;~
MARIA YOUNKER,
                                                 COMPLAINT;           .'
               Plaintiff,
                                                 FAIR DEBT COLLECTION PRACTICES
      vs.                                        ACT (15 USC § 1692a, et seq.);

VALENTINE & KEBARTAS, INC.,                      DEMAND FOR JURy TRIAL

               Defendant.
                                  I. INTRODUCTION

      1.       This is an action for damages brought by an individual consumer for

Defendant's violations of the federal Fair Debt Collection Practices Act, 15 U.S.C. §

1692, et seq. (hereinafter "FDCPA").

                                   II. JURISDICTION

      2.       Plaintiffs claim for violations of the FDCPA arises under 15 U.S.C. §

1692k(d), and therefore involves a "federal question" pursuant to 28 USC § 1331.

                                       III. PARTIES

      3.       Plaintiff, Maria Younker ("Plaintiff'),      IS   a natural person residing   In


Klamath County, Oregon.


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       4.      Defendant, Valentine        &   Kebartas, Inc., ("Defendant")    is a   corporation

engaged in the business of collecting debts by use of the mails and telephone. Defendant

regularly attempts to collect debts alleged due another.

                                 IV. FACTUALALLEGATIONS
       5.      Defendant is a "debt collector" as defined by the FDCPA, 15 U.S.C.                $


1692a(6).

       6.      Plaintiffis   a   "consumer" as defined by the FDCPA, 15 U.S.C. $ 1692a(3).

       '1.      All activities of Defendant set out herein were undertaken in connection

with the collection ofa "debt,"      as defined   by l5 Usc $ 1692a(5).

       E.      Within the last year, Defendant took multiple actions in an attempt to

collect a debt llom Plaintiff. Defendant's conduct violated the FDCPA in multiple ways,

including the following.

       9.      Without having received the prior consent of Plaintiff or the express

permission of a court of competent jurisdiction, and without it being necessary to effect a

post-judgment remedy, cornmunicating with a third party other than               in the manner

prescribed   by 15 USC $          1692b, including contacting     Plaintifls mother and father

repeatedly on their home phone without Plaintilfs permission and without such contact

being necessary to effect a post-judgment remedy ($ 1692c(b));

       10.     Disclosing to a third party the existence of the debt allegedly owed by

Plaintiff, including disclosing the existence of the debt to both Plaintiffs mother and

father repeatedly in telephone calls made to th€ir separate phone number, 541-783-2665


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($ 1692b(2)& $ 1692c(b));

        I   l.   Communicating with a single third party more lhan once in connection with

an attempt to collect an alleged debt from Plaintiff, including calling Plaintifls parents'

home multiple times ($ 1692b(3)       & $ 1692c(b));

        12.      Threatening to take an action against Plaintiff that cannot be legally taken

or that was not actually intended to be taken, including threatening that Plaintiffcould be

arrested for non-payment and that Plaintiff would be sued, and that             Plaintifls propefiy

would be taken. Defendant also threatened to get Plaintiffkicked             offofa   soccer team by

disclosing her debt to her coach. Plaintiffdoes not play on a soccer team ($ 1692e(5)).

       13.       As a result of the      aforementioned violations, Plaintiff suffered and

continues to suffer injuries to     Plaintiffs feelings, personal humiliation,        embarrassment,

mental anguish and severe €motional distr€ss.

       14.       Defendant intended     to   cause,   by   means   of the actions detailed above,
injuries to Plaintifls feelings, personal humiliation, embanassment, mental anguish and

severe emotional distress.

       15.       Defendant's actions, detailed above, were undertaken with extraordinary

disregard of, or indifference to,   knotn    or highly probable risks to purported debtors.

       16.       To the extent Defendant's actions, detailed in paragraphs 8-12, were canied

out by an employee ofDefendant, that employee was acting within the scope ofhis or her

employment.

   COUNT I: VIOLATION OF FAIR DEBT COLLECTION PRACTICES ACT


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       l7   .   Plaintiffreincorporates by reference all ofthe preceding paragraphs.

       18.      The preceding paragraphs state         a   prima facie case for Plaintiff and against

Defendant for violations ofthe FDCPA, $$ 1692c(b), 1692b(2), 1692b(3), 1692e(5).

                                  PRAYER F'OR RELIEF

       WHEREFORE, Plaintiff respectfully Fays that judgment be entered against the

Defendant for the following:

      A.        Declaratory judgment that Defendant's conduct violated the FDCPA;

      B.        Actual damages pursuant to 15 USC 1692k;

      C.        Statutory damages pursuant to l5U.S.C. $ 1692k;

      D.        Costs, disbu$ements and reasonable attomey's fees for                   all   successful

claims, and any unsuccessful claims arising out of the same transaction or occrurence as

the successful claims, pursuant to l5 U.S.C. $ 1692k; and,

      E.        For such other and further relief as may be just and proper.

                PLAINTIFF HEREBY REOUESTS A TRIAL BY JURY



                                                   Dated this 2'd day ofDecember, 2010.



                                                           By;

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